Case 2:02-Cr-20433-BBD Document 221 Filed 09/01/05 Page 1 of 2 Page|D 258

 
 
            

UNITED s'rATES DIsTRICT CoURT Ff'~iff:> Me
wEsTERN DISTRICT oF TENNESSEE
Western Division 05 SEF 'l AH l[]¥ 145
UNITED sTATEs 0F AMERICA M r 'l'; 1 .; ` m
-~. »-LC§;$_.» ,‘;r.lt point
-vs- Case No. 2:023§204: `33¥£*-"# 38

MELISSA HALL

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The F ederal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this l day of September,

 

 

2005.
f'-__’- w
l_.i ,
'TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

Copies hirnished to:

United States Attorney

United States Marshal

Pretrial Services Ofiice
Assistant Federal Public Defender

Intal<e

MELISSA HALL
Thl‘s document entered on the dockets t m f 6
with Huie 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 221 in
case 2:02-CR-20433 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

Memphis7 TN 38103

Tracy Lyrm Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Financial Unit
FINANCIAL UNIT
167 N. Main St.

Ste. 242

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

